3:23-cv-02413-SAL    Date Filed 06/02/23    Entry Number 1-2       Page 1 of 13




                             Exhibit 2
                    State Court Filings – Court of Appeals
        Saunders v. Beta Upsilon Chi Fraternity, Inc., No. 2023-000788
       3:23-cv-02413-SAL          Date Filed 06/02/23        Entry Number 1-2          Page 2 of 13




                                                                                       May 12 2023
                                 THE STATE OF SOUTH CAROLINA
                                       In The Court of Appeals


                                 IN THE COURT OF COMMON PLEAS
                                          5th Judicial Circuit

                                   Daniel Coble, Circuit Court Judge

                                     CASE NO.: 2021-CP-40-03542


         Logan Saunders,

                                                                          Appellant,
                                                  v.
         Beta Upsilon Chi Fraternity, Inc., a/k/a Beta
         Upsilon Chi, Michael Vinzani, Graham
         Harmon, and Walker Wood,

                                                                          Respondent(s).1


                                      NOTICE OF APPEAL

         Appellant Logan Saunders, hereby gives his notice of appeal of the order entered by this

Court on May 4, 2023, which is attached and further described as follows:

         1) Order Granting Defendant Beta Upsilon Chi Fraternity, Inc. Relief from Default.

         The undersigned counsel certifies that this appeal is timely filed within 30 days of receipt

of notice of the order identified above.



                                         [signature on next page]




1
    Defendant Beta Upsilon Chi Fraternity, Inc., a/k/a Beta Upsilon Chi is the only Respondent.


                                                       1
     3:23-cv-02413-SAL       Date Filed 06/02/23   Entry Number 1-2      Page 3 of 13




                                    WESLEY D. FEW, LLC

                                    __/s/Wesley D. Few_______
                                    Wesley D. Few, S.C. Bar No. 15565
                                    Post Office Box 9398
                                    Greenville, South Carolina 29604
                                    (864) 527-5906 | wes@wesleyfew.com

                                    ATTORNEYS FOR APPELLANT

Greenville, South Carolina
May 12, 2023




Counsel of Record for Respondent:

Matthew A. Abee
NELSON MULLINS RILEY & SCARBOROUGH LLP
1320 Main Street 17th Floor
Columbia SC 29201
803-799-2000
matt.abee@nelsonmullins.com

Tyler L. Walker
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803-799-2000
tyler.walker@nelsonmullins.com




                                            -2-
     3:23-cv-02413-SAL        Date Filed 06/02/23      Entry Number 1-2         Page 4 of 13



                                                                                May 12 2023
                             THE STATE OF SOUTH CAROLINA
                                  In The Court of Appeals


                            IN THE COURT OF COMMON PLEAS
                                     5th Judicial Circuit

                               Daniel Coble, Circuit Court Judge

                                 CASE NO.: 2021-CP-40-03542


       Logan Saunders,
                                                                   Appellant,
                                             v.
       Beta Upsilon Chi Fraternity, Inc., a/k/a Beta
       Upsilon Chi, Michael Vinzani, Graham
       Harmon, and Walker Wood,

                                                                   Respondents.


                                  PROOF OF SERVICE

       On behalf of Appellant Logan Saunders, the undersigned hereby certifies that on May 12,
2023, the Appellants’ Notice of Appeal was served on all counsel of record and the Richland
Clerk of Court and the Court of Appeals Clerk of Court via E-File and/ or Email and / or U.S.
Mail and / or Hand-Delivery, as follows:


The Honorable Jenny Abbott Kitchings                       Richland County Clerk of Court
South Carolina Court of Appeals – Clerk of Court           1701 Main Street #205
Post Office Box 11629                                      Columbia, SC 29201
Columbia, South Carolina 29211                             (via E-File / NEF)
ctappfilings@sccourts.org


Matthew A. Abee, Esquire
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1320 Main Street, 17th Floor
Columbia, SC 29201
matt.abee@nelsonmullins.com
(via E-File / NEF)



                                                  1
    3:23-cv-02413-SAL      Date Filed 06/02/23     Entry Number 1-2   Page 5 of 13




Tyler L. Walker, Esquire
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1320 Main Street, 17th Floor
Columbia, SC 29201
tyler.walker@nelsonmullins.com
(via E-File / NEF)

ATTORNEYS FOR RESPONDENTS




                                                 /s/Cassy Young________
                                                 Cassy Young

May 12, 2023
Columbia, South Carolina




                                         -2-
         3:23-cv-02413-SAL              Date Filed 06/02/23           Entry Number 1-2             Page 6 of 13




                                                                                                                           ELECTRONICALLY FILED - 2023 May 04 2:36 PM - RICHLAND - COMMON PLEAS - CASE#2021CP4003542
STATE OF SOUTH CAROLINA                                     IN THE COURT OF COMMON PLEAS
                                                            FIFTH JUDICIAL CIRCUIT
COUNTY OF RICHLAND

Logan Saunders,                                                 Civil Action No. 2021-CP-40-03542

                                             Plaintiff,
                      vs.
                                                                  Order Granting Defendant Beta Upsilon Chi
Beta Upsilon Chi Fraternity, Inc., a/k/a Beta                         Fraternity, Inc. Relief from Default
Upsilon Chi, Michael Vinzani, Graham
Harmon, and Walker Wood,

                                         Defendants.


           Before the Court is the Motion for Relief from Default filed by Defendant Beta Upsilon

Chi Fraternity, Inc. (the “Fraternity Corporation”), which made a limited appearance to challenge

the Court’s personal jurisdiction under Rules 12(b)(2) and (5), SCRCP, and to seek relief from the

default erroneously entered against it under Rule 55, SCRCP.                            The Fraternity Corporation

challenges whether service of process by certified mail was completed on it in Texas, and requests

the Court vacate its prior order entering default.

           The Court GRANTS the motion. It finds and concludes that the record confirms service

of process was not perfected on the Fraternity Corporation.1 As a result, the Court ORDERS:

           A.        That the adjudication of default and entry of default is hereby vacated.

           B.        As the Fraternity Corporation offered to do in its motion, the Fraternity Corporation

shall accept service of process and make a formal appearance in this case. Thereafter, it shall have

thirty days to answer or otherwise respond to the Summons and Complaint, retaining all defenses

given its limited appearance to date.

           IT IS SO ORDERED.

                                   ELECTRONIC SIGNATURE TO FOLLOW
1
    And in any event, the record lacks a sufficient certified mail return receipt for default to be procedurally proper.


                                                        Page 1 of 1
  3:23-cv-02413-SAL               Date Filed 06/02/23          Entry Number 1-2   Page 7 of 13




                                                                                                  ELECTRONICALLY FILED - 2023 May 04 2:36 PM - RICHLAND - COMMON PLEAS - CASE#2021CP4003542
                                           Richland Common Pleas


Case Caption:              Logan Saunders vs Beta Upsilon Chi Fraternity Inc , defendant, et al

Case Number:               2021CP4003542

Type:                      Order/Relief



                                                       So Ordered

                                                       s/ Daniel Coble, 2774



Electronically signed on 2023-05-04 12:05:03   page 2 of 2
    3:23-cv-02413-SAL                Date Filed 06/02/23                Entry Number 1-2   Page 8 of 13



From:              Cassy Young
To:                Court Of Appeals Filings
Cc:                Wes Few; Tyler Walker; Matt Abee; Staff@wesleyfew.com
Subject:           2021-CP-40-03542 (Our File No.: 00272-001)
Date:              Friday, May 12, 2023 2:18:04 PM
Attachments:       2023-05-12__Notice of Appeal to be filed.pdf
                   2023-05-12__Proof of Service for Notice of Appeal - cgy.pdf




 *** EXTERNAL EMAIL: This email originated from outside the organization. Please
 exercise caution before clicking any links or opening attachments. ***

Good afternoon,

Please see attached Notice of Appeal and Proof of Service for same.

Thank you,
Cassy

Cassy G. Young, Paralegal/ Office Manager | Wesley D. Few, LLC |864-527-
5906 | cassy@wesleyfew.com | P.O. Box 9398, Greenville, SC 29604
| www.wesleyfew.com

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             The South Carolina Court of Appeals
JENNY ABBOTT KITCHINGS                                            POST OFFICE BOX 11629
         CLERK                                                COLUMBIA, SOUTH CAROLINA 29211
                                                                   1220 SENATE STREET
 CATHERINE S. HARRISON                                        COLUMBIA, SOUTH CAROLINA 29201
      DEPUTY CLERK
                                                                 TELEPHONE: (803) 734-1890
                                                                    FAX: (803) 734-1839
                                                                      www.sccourts.org

                                   May 18, 2023


Mr. Wesley D. Few, Esquire
PO Box 9398
Greenville SC 29604

Re:    Logan Saunders v. Beta Upsilon Chi Fraternity, Inc.
       Appellate Case No. 2023-000788



Dear Counsel:

This Court has received your notice of appeal, and the case has been assigned the
appellate case number that appears above. Please use this number on all future
correspondence relating to this matter.

All parties to this matter are advised that all filings must comply with the
requirements of Rule 267 of the South Carolina Appellate Court Rules (SCACR).
The SCACR are available online at www.sccourts.org/courtreg. Additionally, any
filings submitted by counsel admitted in South Carolina must include counsel's bar
number.

The attention of the parties is directed to the order relating to the inclusion of
personal data identifiers and other sensitive information in documents filed with
the Supreme Court of South Carolina and the South Carolina Court of Appeals.
The order can be found at
www.sccourts.org/courtOrders/displayOrder.cfm?orderNo=2014-04-15-02. Please
note that the responsibility for insuring that information is redacted or sealed as
required by this order rests with counsel and the parties. This office will not review
      3:23-cv-02413-SAL   Date Filed 06/02/23   Entry Number 1-2       Page 10 of 13




filings for redaction or to determine if materials should be sealed.

This is to advise that the title in the above matter has been changed to read as
follows:

Logan Saunders, Appellant,

v.

Beta Upsilon Chi Fraternity, Inc., a/k/a Beta Upsilon Chi, Michael Vinzani,
Graham Harmon, and Walker Wood, Defendants,

of which Beta Upsilon Chi Fraternity, Inc., a/k/a Beta Upsilon Chi is the
Respondent.

All future records in this matter should be changed to reflect this title. If you have
any questions, please do not hesitate to contact this office.


                                   Very truly yours,




                                       CLERK

cc:     Matthew A. Abee, Esquire
        Tyler L. Walker, Esquire




                                           2
   3:23-cv-02413-SAL          Date Filed 06/02/23              Entry Number 1-2               Page 11 of 13



From:          Staley, Denesha
To:            "matt.abee@nelsonmullins.com"; "tyler.walker@nelsonmullins.com"; "wes@wesleyfew.com"
Cc:            "kim.smith@nelsonmullins.com"; "cassy@wesleyfew.com"
Subject:       Logan Saunders v. Beta Upsilon Chi Fraternity, Inc. 2023-000788
Date:          Thursday, May 18, 2023 3:00:00 PM
Attachments:   DS Saunders v. Beta- Initial Letter 05.18.pdf
               DS Saunders v. Beta- Deficiency Letter 05.18.pdf


Good afternoon,


Attached please find correspondence from the South Carolina Court of Appeals. Please do not
respond to this email. Send all correspondence to ctappfilings@sccourts.org. Any parties not
included in this email will receive the attached correspondence via US Mail.



Denesha M. Staley
Appeals Specialist
SC Court of Appeals
1220 Senate Street
Columbia, SC 29201
(803)-734-1079
      3:23-cv-02413-SAL     Date Filed 06/02/23   Entry Number 1-2       Page 12 of 13




               The South Carolina Court of Appeals
JENNY ABBOTT KITCHINGS                                              POST OFFICE BOX 11629
           CLERK                                                COLUMBIA, SOUTH CAROLINA 29211
                                                                     1220 SENATE STREET
 CATHERINE S. HARRISON                                          COLUMBIA, SOUTH CAROLINA 29201
        DEPUTY CLERK
                                                                     TELEPHONE: (803) 734-1890
                                                                        FAX: (803) 734-1839
                                                                          www.sccourts.org

                                     May 18, 2023


Mr. Wesley D. Few, Esquire
PO Box 9398
Greenville SC 29604

Re:      Logan Saunders v. Beta Upsilon Chi Fraternity, Inc.
         Appellate Case No. 2023-000788


Dear Counsel:

Upon reviewing your notice of appeal, the following deficiencies have been noted
under the South Carolina Appellate Court Rules (SCACR), and any deficiency
must be corrected within ten (10) days of the date of this letter or this matter will
be dismissed:

      • The required filing fee has not been submitted. The correct filing fee is
        $250.00.

                                    Very truly yours,




                                        CLERK

cc:      Matthew A. Abee, Esquire
         Tyler L. Walker, Esquire
   3:23-cv-02413-SAL          Date Filed 06/02/23              Entry Number 1-2               Page 13 of 13



From:          Staley, Denesha
To:            "matt.abee@nelsonmullins.com"; "tyler.walker@nelsonmullins.com"; "wes@wesleyfew.com"
Cc:            "kim.smith@nelsonmullins.com"; "cassy@wesleyfew.com"
Subject:       Logan Saunders v. Beta Upsilon Chi Fraternity, Inc. 2023-000788
Date:          Thursday, May 18, 2023 3:00:00 PM
Attachments:   DS Saunders v. Beta- Initial Letter 05.18.pdf
               DS Saunders v. Beta- Deficiency Letter 05.18.pdf


Good afternoon,


Attached please find correspondence from the South Carolina Court of Appeals. Please do not
respond to this email. Send all correspondence to ctappfilings@sccourts.org. Any parties not
included in this email will receive the attached correspondence via US Mail.



Denesha M. Staley
Appeals Specialist
SC Court of Appeals
1220 Senate Street
Columbia, SC 29201
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